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                                    STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (“FBI”) and have
been so employed since 2008. Specifically, I am assigned to the Louisville Field Office and am
authorized by law or by Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws. I am assisting in the
investigation and prosecution of events which occurred at the United States Capitol on January 6,
2021.

       The facts and information contained in this affidavit are based upon my personal
knowledge and information obtained from state and federal law enforcement officers. All
observations not personally made by me were relayed to me by the individuals who made them or
are based on my review of reports, documents, and other physical evidence obtained during the
course of this investigation. This affidavit is intended to show only that there is sufficient probable
cause for the requested warrant and does not set forth all of my knowledge about this matter.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public. The dates listed in this Affidavit should be read as “on or about” dates.

       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the United States Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

      Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
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of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                        Facts Specific to STEPHEN CHASE RANDOLPH

        I have reviewed a publicly available Instagram video that depicts an individual identified
as STEPHEN CHASE RANDOLPH assaulting a U.S. Capitol Police Officer and engaging in
disruptive or disorderly conduct.

       The Instagram video shows that on January 6, 2021, at or about 12:45 p.m., as preparations
for the proceedings described above were underway in the House and Senate, a large crowd
gathered to the west of the U.S. Capitol around the Peace Monument, located in the Pennsylvania
Avenue, NW and 1st Street, NW, roundabout. This location was commonly referred to as “Peace
Circle” by U.S. Capitol Police (“USCP”) officers.




                        Figure 1. Aerial Imagery of U.S. Capitol Grounds

        The crowd then moved southeast to the threshold of the sidewalk that connects Peace Circle
to the U.S. Capitol Building, commonly referred to as the “Pennsylvania Ave Walkway” by USCP
officers. Metal barricades had been put in place by U.S. Capitol Police Officers. The metal
barricades were intended to keep the public away from the Capitol building and the Congressional
proceedings underway inside.

        At or about 12:50 p.m., two individuals could be observed leading the crowd past the fence
line (see Figure 2 below). The two approached a second line of barricades that were manned by
uniformed U.S. Capitol Police Officers. The second line of barricades were constructed of metal
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bike rack barriers, physically linked end to end, and reinforced with dark colored plastic mesh
safety fencing affixed behind the metal bike racks. The fence line was clearly marked with large
white “AREA CLOSED” signs affixed to the fencing with bold red lettering (see Figure 3 below).




          Figure 2 – Crowd heading to Barricades Blocking Access to Pennsylvania Walkway




                                                  Figure 3

         As the crowd approached the barricade manned by USCP officers, an individual
(“SUBJECT”) wearing a grey Carhartt toboggan, a black jacket with a breast pocket on each side
and stitching detail on each sleeve, a grey turtleneck, black gloves with a red stripe, and jeans, can
be seen violently pushing and pulling the barricades until the crowd successfully pushed the
barricades down on top of the officers. In the process of pushing the barricades to the ground, the
SUBJECT and others knocked over a USCP Officer (hereinafter Officer-1 “O-1”) as the crowd
lifted the barricades up and pushed towards the Capitol, causing O-1’s head to hit the stairs behind
her, resulting in a loss of consciousness. The SUBJECT then continued to assault two other USCP
officers by physically pushing, shoving, grabbing, and generally resisting the officers and
interfering with their official duties of protecting the closed and restricted U.S. Capitol grounds.

       The following screenshots taken from the aforementioned video (Figures 4 through 6)
show the SUBJECT confronting USCP officers:
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                     Figure 4 – SUBJECT pulling the barricade from O-1




                     Figure 5 – SUBJECT pushing the barricade into O-1




                        Figure 6 – SUBJECT assaulting USCP Officer

        On or about January 27, 2021, SUBJECT was included in a “Seeking Information” list and
given the moniker “168-AFO.” The FBI posted that list (Figure 7 below) to its website and to
social media in order to garner public assistance to identify the individual.
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                       Figure 7 –SUBJECT in FBI’s “Seeking Information” list.

       On February 2, 2021, the FBI observed a post on Twitter account @SeditionHunters which
contained photographs taken at the U.S. Capitol on January 6, 2021 referencing “FBI 168-AFO”
and showing an individual wearing a grey Carhartt toboggan, a black jacket with a breast pocket
on each side and stitching detail on each sleeve, and a grey turtleneck, clothing which matches the
clothing seen in the photographs above. The individual’s face is also visible (see Figure 8).
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                             Figure 8 - @SeditionHunters Twitter post

       The third photograph in Figure 8 shows the individual as he is falling to the ground and his
cap being pulled off his head. The following screenshot taken from the aforementioned Instagram
video (Figure 9) shows the SUBJECT physically confronting USCP officers and specifically
shows the SUBJECT falling to the ground and his grey toboggan is beginning to come off his
head:




                   Figure 9 – Screenshot showing SUBJECT’S cap coming off

        I have also reviewed a publicly available YouTube video showing the same interaction
between SUBJECT and the USCP officers as in the Instagram video but from a different angle. In
the YouTube video, the SUBJECT can be seen wearing the same grey in color Carhartt toboggan,
black in color jacket with stitching detail on each sleeve, as well as a grey in color turtleneck (see
Figure 10).
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                      Figure 10 – Screenshot of YouTube video showing SUBJECT

       After comparing the individual depicted in the Instagram and YouTube videos to the
individual pictured on the @SeditionHunters Twitter page, the FBI has determined them to be the
same individual, the SUBJECT.

        Using an open source facial comparison tool, known to provide reliable results in the past.
the FBI submitted the middle photograph of Figure 7 due to it being a clear, straight-on photograph
of SUBJECT. The facial recognition tool yielded results associated with the Instagram page of
an individual (“Individual-1”) from Kentucky who appeared to be the girlfriend of the SUBJECT.
Individual-1’s publicly available Instagram account contained numerous photographs of the
SUBJECT who, according to the comments section of some of the posts, is named “Stephen.”
Individual-1’s Instagram account also contained a photograph of the SUBJECT (see Figure 11)
wearing the same grey toboggan with white “Carhartt” embroidered on the front that is seen in the
Instagram and YouTube videos.




                          Figure 11 – Instagram post from Individual-1
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       Additionally, a review of Individual-1’s publicly available Facebook account revealed a
photograph that appeared to show family members of “Stephen” referenced above. A search of
the family members’ friends list for “Stephen” revealed a Facebook page showing the full name
as “Stephen Chase Randolph”.

       A check of Kentucky Driver’s License records for STEPHEN CHASE RANDOLPH
provided a photograph which appears to be the same individual as the SUBJECT described above.

       On or about March 3, 2021, the FBI followed RANDOLPH from his residence to his
workplace of employment. RANDOLPH was observed wearing what appeared to be the same
grey toboggan, light colored jeans, and black jacket seen in the videos described above. The FBI
took photographs of SUBJECT as he was standing outside of his workplace (see Figure 12).




                     Figure 12 – Photographs of SUBJECT outside of his workplace.

        On April 13, 2021, two FBI agents, acting in an undercover capacity, surreptitiously
recorded a conversation with RANDOLPH at his workplace. During the interaction,
RANDOLPH, who identified himself as “Stephen,” admitted attending the riots at the U.S. Capitol
on January 6, 2021. RANDOLPH said he attended the former President’s speech but left early
after hearing people would be going to the U.S. Capitol. RANDOLPH said that upon arriving at
the area of the U.S. Capitol, there were steel barriers set up in front of a grassy area in front of the
U.S. Capitol building and there were approximately 15 police officers spread out in this particular
area. RANDOLPH said he was in this area for approximately 5 minutes before “shit went crazy”
and that he was standing close to people who were throwing items at the police. RANDOLPH
further stated “I was in it,” and “It was fucking fun” referring to being in the crowd at the U.S.
Capitol. RANDOLPH said he witnesses a female police officer get pushed over by barricades and
that her head had bounced off the handrails by the stairs. RANDOLPH opined that the female
police officer likely had a concussion because she was curled up in the fetal position after being
pushed to the ground.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
STEPHEN CHASE RANDOLPH violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime
to forcibly assault, resist, oppose, impede, intimidate, or interfere with any person designated in
section 1114 of title 18 while engaged in or on account of the performance of official duties and
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inflict bodily injury. Persons designated within section 1114 include any person assisting an
officer or employee of the United States in the performance of their official duties.

        Your affiant submits there is also probable cause to believe that STEPHEN CHASE
RANDOLPH violated 18 U.S.C. § 231(a)(3) and § 2, which makes it unlawful to commit or
attempt to commit any act to obstruct, impede, or interfere with any fireman or law enforcement
officer lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

       Your affiant submits there is also probable cause to believe that STEPHEN CHASE
RANDOLPH violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or
impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional
proceedings are official proceedings.

                                                     _________________________________
                                                     KACY JONES
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 16th day of April 2021.
                                                                   2021.04.16
                                                                   15:08:12 -04'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE
